                  Case: 1:16-cr-00059-SNLJ Doc. #: 36 Filed: 01/04/18 Page: 1 of 8 PageID #: 144
AO 245B (Rev. 09/17)
  Sheet I- Judgment in a Criminal Case
                                                                                                                                FILED
                                     United States District Court                                                          JAN - 4 2018
                                                           Eastern District of Missouri
                       UNITED ST ATES OF AMERICA                                                                        EA~JR~ir~~~r COURT
                                         v.                                   JUDGMENT IN A CRIMINAL CASli.PEGtRA~8JA°tfMO
                       GLEN ALLEN YANDELL
                                                                            CASE NUMBER: 1: 16CR00059SNLJ
                                                                               USMNwnber: 46886-044
                                                                               Michael A. Skrien
                                                                                                 -------------
  THE DEFENDANT:
                                                                                Defendant's Attorney
   ~ pleaded guilty to count(s)               one (1) and two (2) of the Indictment on September 29, 2017

   D which
     pleadednolo contendereto coun«s) ---------------------------~
           was accepted by the court.

  D    was found guilty on count(s)
       after a plea of not guilty
  The defendant is adjudicated guilty of these offenses:
                                                                                                                Date Offense   Count
 Title & Section                                   Nature of Offense                                            Concluded    Number(s)
21:841 (a)(l)and21:841 (b)(l)(C)                 Possess with Intent to Distribute Methamphetamine          1/30/2015           1



18:922(g)(l) and 18:924(a)(2)                    Felon in Possession of a Firearm                           1/30/2015           2




      The defendant is sentenced as provided in pages 2 through                     7   of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.

 D      The defendant has been found not guilty on count(s) - - - - - - - - - - - - - - - - - - - - - - -
 0      Count(s) _ _ _ _ _ _ _ _ _ __                                           dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence, or
mailing address lllltil all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.


                                                                                January 4, 2018
                                                                                Date of Imposition of Judgment




                                                                                Signature of Judge

                                                                                    STEPHENN. LIMBAUGH, JR
                                                                                UNITED STAIBS DIS1RICT JUDGE
                                                                                Name & Title of Judge


                                                                                January 4, 2018
                                                                                Date signed

  Record No.: 21
AO 245B (Rev. 09/17)Case: 1:16-cr-00059-SNLJ
                       Judgment in Criminal Case Sheet Doc.    #: 36
                                                       2 - Imprisonment   Filed: 01/04/18 Page: 2 of 8 PageID #: 145
                                                                                                          Judgment-Page   _2_    of   _7__
  DEFENDANT: GLEN ALLEN YANDELL
  CASE NUMBER: 1:16CR00059SNLJ
 District:   Eastern District of Missouri
                                                           IMPRISONMENT
  The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of 27 MONTHS.


  This term consists of a term of27 months on each of counts one and two, all such terms to be served concurrently. This sentence shall be
  served consecutively to any sentence imposed in the Clay County, Arkansas Circuit Court in Docket No. CR-2011-23.




  ~     The court makes the following recommendations to the Bureau of Prisons:

  While in the custody of the Bureau of Prisons, it is recommended the defendant be evaluated for participation in the Residential Drug
  Abuse Program and mental health treatment. It is also recommended the defendant be evaluated for participation in an
  Occupational/Educational program, specifically, construction and blacksmithing. Such recommendations are made to the extent they are
  consistent with the Bureau of Prisons policies.


  ~    The defendant is remanded to the custody of the United States Marshal.

  D    The defendant shall surrender to the United States Marshal for this district:

       D     at                        a.m ./pm on
       D     as notified by the United States Marshal.

  D    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

       D     before 2 p.m. on

       D     as notified by the United States Marshal
       D     as notified by the Probation or Pretrial Services Office




                                 MARSHALS RETURN MADE ON SEPARATE PAGE
                   Case:
 AO 245B (Rev. 09/17)     1:16-cr-00059-SNLJ
                      Judgment in Criminal Case Sheet 3Doc.
                                                       - Supervised#:   36
                                                                    Release   Filed: 01/04/18 Page: 3 of 8 PageID #: 146
                                                                                                                  Judgment-Page   _3_      of   _7__
     DEFENDANT: GLEN ALLEN YANDELL
     CASE NUMBER: 1:16CR00059SNLJ
     District:    Eastern District of Missouri


                                                        SUPERVISED RELEASE
          Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 YEARS.      ~~~~~~~~




     This term consists of a term of three years on each of counts one and two, all such terms to run concurrently.




                                                       MANDATORY CONDITIONS
1.     You must not commit another federal, state or local crime.
2.     You must not unlawfully possess a controlled substance.
3.     You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
       imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                  D   The above drug testing condition is suspended, based on the court's determination that you
                      pose a low risk of future substance abuse. (check if applicable)
4.          D     You must make restitution in accordance with 18 U.S.C. §§ 3663 and SG63A or any other statute authorizing a
                  sentence of restitution. (check if applicable)
5.          181   You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.          D     You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901,
                  et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in
                  the location where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.          D     You must participate in an approved program for domestic violence. (check if applicable)


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached page.
                   Case:
 AO 245B (Rev. 09/17)
                         1:16-cr-00059-SNLJ
                     Judgment in Criminal Case
                                                      Doc. #: 36 Filed: 01/04/18 Page: 4 of 8 PageID #: 147
                                               Sheet 3A - Supervised Release

                                                                                                                 Judgment-Page   _4_   of   _7__
     DEFENDANT: GLEN ALLEN YANDELL
     CASE NUMBER: 1:16CR00059SNLJ
     District: Eastern District of Missouri


                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your release
   from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
   when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
   court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying the
      probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to take
      any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from doing
   so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses you from
   doing so. If you plan to change where you work or anything about your work (such as your position or your job responsibilities), you must
   notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible
   due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
   change.        -
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been convicted
   of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
    designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human SOtµ'Ce or informant without first
    getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may require you
    to notify the person about the risk and you must comply with that instruction. The probation officer may contact the person and confirm
    that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this judgment
containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised Release Conditions,
available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date
                   Case: 1:16-cr-00059-SNLJ Doc. #: 36 Filed: 01/04/18 Page: 5 of 8 PageID #: 148
AO 245B (Rev. 09/17)   Judgment in Criminal Case   Sheet 3C - Supervised Release

                                                                                                              Judgment-Page   _5_     of   _7__
   DEFENDANT: GLEN ALLEN YANDELL
   CASE NUMBER: 1:16CR00059SNLJ
   District: Eastern District of Missouri

                                             SPECIAL CONDITIONS OF SUPERVISION



 As part of your supervision, you must comply with the following additional special conditions. Ifit is determined there are costs associated
 with any services provided, you shall pay those costs based on a co-payment fee established by the probation office:

 You must participate in an educational services program and follow the rules and regulations of that program. Such programs may include
 high school equivalency preparation, and other classes designed to improve your proficiency in skills such as reading, writing,
 mathematics, or computer use.

 You must participate in a mental health treatment program and follow the rules and regulations of that program. The probation officer, in
 consultation with the treatment provider, will supervise your participation in the program (provider, location, modality, duration, intensity,
 etc.).

 You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. § 1030(e)(l)), other
 electronic communications or data storage devices or media, or office, to a search conducted by a United States probation officer. You
 must warn any other occupants that the premises may be subject to searches pursuant to this condition. The probation officer may conduct
 a search under this condition only when reasonable suspicion exists that you have violated a condition of supervision and that the areas to
 be searched contain evidence of this violation.

 You must submit to substance abuse testing to determine if you have used a prohibited substance. You must not attempt to obstruct or
 tamper with the testing methods.

 You must participate in a substance abuse treatment program and follow the rules and regulations of that program. The probation officer
 will supervise your participation in the program (provider, location, modality, duration, intensity, etc.).
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AO 245B (Rev. 09/17)   Judgment in Criminal Case     Sheet 5 • Criminal Monetary Penalties

                                                                                                                     Judgment-Page   _6_    of   _7__
 DEFENDANT: GLEN ALLEN YANDELL
 CASE NUMBER: 1:16CR00059SNLJ
 District: Eastern District of Missouri
                                                   CRIMINAL MONETARY PENALTIES
 The defendant must pay the total criminal monetruy penalties under the schedule of payments on sheet 6
                              Assessment              NTA Assessment*                     Fine                                Restitution

       Totals:                   $200.00

 D      The determination of restitution is deferred until
        will be entered after such a determination.                   - - - - - . An Amended Judgment in a Criminal Case (AO 245C)


  D     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
 If the defendant makes a partfal payment, each payee shall receive an approximately proportional payment unless specified
 otherwise in the priority order or percentage payment column below. However, pursuant ot 18 U.S.C. 3664(i), all nonfederal
 victims must be paid before the United States is paid.

 Name of Payee                                                                               Total Loss*   Restitution Ordered Priority or Percentage




 D Restitution amount ordered pursuant to plea agreement


 D before
   The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
          the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on
       Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
 D The court determined that the defendant does not have the ability to pay interest and it is ordered that:
    D The interest requirement is waived for the. D fine                      D restitution.
    D The interest requirement for the D fine D restitution is modified as follows:


* Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
**Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994 but before April 23, 1996.
                  Case:
AO 245B (Rev. 09117)
                         1:16-cr-00059-SNLJ
                    Judgment in Criminal Case Sheet 6 -Doc. #: of36
                                                       Schedule      Filed: 01/04/18 Page: 7 of 8 PageID #: 150
                                                                  Payments

                                                                                                                  Judgment-Page   _7_     of    _7__
  DEFENDANT: GLEN ALLEN YANDELL
  CASE NUMBER: 1:16CR00059SNLJ
  District:      Eastern District of Missouri
                                                      SCHEDULE OF PAYMENTS
       Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:
   A   181    Lump sum payment of _$2_0_0_.o_o_ __          due immediately, balance due

                                 D   not later than                             , or

                                 D   in accordance with   D   C,   D   D, or      D    E below; or   D F below; or
  BD         Payment to begin immediately (may be combined with             D   C,     D     D, or   D E below; or D        F below; or

  CD       Payment in equal                   (e.g., equal, weekly, monthly, quarterly) installments of                       over a period of

           ------ e.g., months or years), to commence                                   (e.g., 30 or 60 days) after the date of this judgment; or

  D    D   Payment in equal                   (e.g., equal, weekly, monthly, quarterly) installments of                       over a period of
                              e.g., months or years), to commence                      (e.g., 30 or 60 days) after release from imprisonment to a
       term of supervision; or
 E    D      Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after Release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time: or
  F    D     Special instructions regarding the payment of criminal monetary penalties:



   Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
   during the period of imprisonment. All criminal monetary penalty payments, except those payments made through the Bureau of Prisons'
   Inmate Financial Responsibility Program are made to the clerk of the court.

   The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.




  D        Joint and Several
             Defendant and Co-defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
             and corresponding payee, if appropriate.




           The defendant shall pay the·cost of prosecution.
  D
  D        The defendant shall pay the following court cost(s):




  D       The defendant shall forfeit the defendant's interest in the following property to the United States:




  Payments shall be applied in the following order: (1 ) assessment; (2) restitution principal, (3) restitution interest, (4) fine principal,
  (5)fine interest (6) community restitution.(?) penalties, and (8) costs, including cost of prosecution and court costs.
         Case: 1:16-cr-00059-SNLJ Doc. #: 36 Filed: 01/04/18 Page: 8 of 8 PageID #: 151
                                                         DEFENDANT: GLEN ALLEN YANDELL
                                                         CASE NUMBER: 1:16CR00059SNLJ
                                                          USM Number:   46886-044

                              UNITED STATES MARSHAL
                        RETURN OF JUDGMENT IN A CRIMINAL CASE
I have executed this judgment as follows:




The Defendant was delivered on _ _ _ _ _ _ _ t o - - - - - - - - - - - - - - - - -

at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                         UNITED STATES MARSHAL


                                                   By
                                                            Deputy U.S. Marshal



D       The Defendant was released on - - - - - - - to- - - - - - - - Probation

D       The Defendant was released on _ _ _ _ _ _ _ to_ _ _ _ _ _ _ Supervised Release

D       and a Fine of- - - - - - -          D and Restitution in the amount of- - - - - - - -



                                                         UNITED STATES MARSHAL


                                                    By
                                                             Deputy U.S. Marshal


I certify and Return that on _ _ _ _ _ _ , I took custody of - - - - - - - - - - - - -

at
     - - - - - - - - - - and delivered same t o - - - - - - - - - - - - - - - -
on - - - - - - - - - - - - - F.F.T. - - - - - - - - - - - - - - - - -
                                                         U.S. MARSHAL E/MO


                                                     By DUSM - - - - - - - -
